              Case 23-01179-SMG         Doc 11     Filed 11/03/23    Page 1 of 18




                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION
                                www.flsb.uscourts.gov

 In re:                                            Case No.: 22-10014-SMG
                                                   Chapter 13
 LORENZO A. ALLEN

 Debtor


 ________________________________/

 LORENZO A. ALLEN                                  Adversary Proceeding
                                                   Case No: 23-01179-SMG
 Plaintiff

 v.

 THE BANK OF NEW YORK F/K/A THE
 BANK OF NEW YORK AS SUCCESSOR TO
 JP MORGAN CHASE BANK, N.A. AS
 TRUSTEE FOR ASSET BACKED FUNDING
 CORPORATION       ASSET      BACKED
 CERTIFICATES, SERIES 2003-AHL1, et. al.

 ______________________________________/


                          DEFENDANTS’ MOTION TO DISMISS
          Defendants, THE BANK OF NEW YORK F/K/A THE BANK OF NEW YORK AS

SUCCESSOR TO JP MORGAN CHASE BANK, N.A., AS TRUSTEE FOR ASSET BACKED

FUNDING CORPORATION ASSET BACKED CERTIFICATES, SERIES 2003-AHL1

(“BoNY”), PETER HERNANDEZ (“Attorney Hernandez”) and HINSHAW & CULBERTSON

LLP (“Hinshaw,” collectively with BoNY and Attorney Hernandez, the “Defendants”) pursuant

to Federal Rule of Civil Procedure 12(b)(2), (b)(5) and (b)(6), made applicable to this proceeding

by Federal Rule of Bankruptcy Procedure 7012, respectfully move this Court for an order




                                                                                 70275\315205143.v1
                Case 23-01179-SMG               Doc 11       Filed 11/03/23        Page 2 of 18




dismissing the Complaint filed by the Plaintiff LORENZO A. ALLEN (the “Plaintiff” and/or the

“Debtor”) [ECF 1] and in support thereof state as follows:

                                           Summary of Argument

         The Complaint stands to be dismissed as it misconstrues the rights of consumers under the

Florida Consumer Collections Practices Act (“FCCPA”). Specifically, the Plaintiff would have

this Court erroneously find that an easily remedied action by the state court entitled him to damages

which the Plaintiff is not entitled to recover under State law. Rather, the Complaint is more

properly viewed as yet another attempt by the Plaintiff to disrupt the proceedings between the

Plaintiff and BoNY. 1 In addition to the defects in the Plaintiff’s pleading, the Complaint was not

properly served and therefore, service should be quashed and the Plaintiff should be required to

properly serve the Complaint before this matter proceeds.

         Due to the defects in the Complaint and the Plaintiff’s improper service, this matter should

be dismissed.

                                    Background Facts and Allegations

         On January 3, 2022, the Plaintiff filed a Voluntary Petition for relief pursuant to Chapter

13 of the Bankruptcy Code and the Case was assigned Case No. 22-10014 (the “Main Case”)

[Bankr. ECF 1]. On January 27, 2022, the Court dismissed the Main Case and it was not reinstated

until February 18, 2022 [Bankr. ECFs 13 and 23]. Id. A true and correct copy of the Order

Reinstating Chapter 13 Case (the “Order Reinstating”) is attached hereto as Exhibit “A.”

         As more fully detailed below, after the Main Case was dismissed, and before the automatic

stay was reimposed, BoNY’s counsel responded to a communication from the Plaintiff regarding

a suit pending in Broward County, Florida (the “Foreclosure Action”). See Email communications


1
 The Plaintiff is presently seeking relief in the form of a Motion for Sanctions in his main bankruptcy proceeding.
An initial hearing on his Motion for Sanctions is presently scheduled for November 9, 2023.


                                                                                                  70275\315205143.v1
                 Case 23-01179-SMG                Doc 11        Filed 11/03/23         Page 3 of 18




commencing on January 31, 2022, from the Debtor to Attorney Hernandez, along with Attorney

Hernandez’s responses attached hereto as Composite Exhibit “B.” [ECF 1 at ¶38]. BoNY’s counsel

emailed the Plaintiff on additional occasions, again in response to a request from the Plaintiff, in

an attempt to resolve a pending motion in the Foreclosure Action. [ECF 1 at ¶¶39-42]. Eventually,

a hearing was scheduled in the Foreclosure Action to attempt to provide the relief the Plaintiff

sought from BoNY, as evidenced in his correspondence with Attorney Hernandez. [ECF 1 at ¶43].

At no time was Plaintiff represented by counsel in the Foreclosure Action. Accordingly, the

Plaintiff cannot allege or demonstrate that the Defendants had knowledge, that he was represented

by counsel in the Foreclosure Action because in point of fact he was not.

         Instead, the court record reflects that Plaintiff had been engaged in protracted litigation for

close to 10 years pro se in several forums with continuous communications directly with Attorney

Hernandez and other counsel representing BoNY in the following legal proceedings 2:

                  1.        On May 9, 2014, BoNY commenced the Foreclosure Action against the

         Debtor, in the Seventeenth Judicial Circuit, in and for Broward County, Florida styled

         BoNY v. Juanita Allen, et al., under Case Number CACE14009009. A true and copy of the

         docket of the Foreclosure Action is attached as Exhibit “C.”

                  2.        On February 29, 2016, Debtor appealed a state court order to the Fourth

         District Court of Appeal of Florida styled Juanita Allen and Lorenzo Allen vs. BoNY, under

         Case Number 4D16-0651 (the “First Foreclosure Appeal”). The First Foreclosure Appeal



2
  While ordinarily the Court may only consider matters alleged in the complaint, “the Eleventh Circuit has determined
that courts may consider documents ‘attached to a motion to dismiss without converting the motion into one for
summary judgment if the attached document is (1) central to plaintiff's claim and (2) undisputed.’” Dillworth v. Ginn
(In re Ginn-LA St. Lucie Ltd., LLLP), 2010 Bankr. LEXIS 6324 *16 (Bankr. S.D. Fla., Dec. 10, 2020) (quoting Day
v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005)). A court may take judicial notice of adjudicative facts that are not
subject to reasonable dispute because they are generally known within the trial court's territorial jurisdiction or because
they can be accurately and readily determined from sources whose accuracy cannot reasonably be questioned. Fed. R.
Evid. 201(b)(2). The documents filed with the Clerk are public records of which a court can take judicial notice. Id.


                                                                                                      70275\315205143.v1
      Case 23-01179-SMG         Doc 11     Filed 11/03/23     Page 4 of 18




was dismissed on April 7, 2016. A true and correct copy of the docket from the First

Foreclosure Appeal attached as Exhibit “D.”

       3.      On August 30, 2019, Debtor removed the Foreclosure Action to the United

States District Court for the Southern District of Florida styled Lorenzo A. Allen and

Juanita Allen v. BoNY, under Case Number 0:19-cv-62182 (the “Federal Case”). A true

and correct copy of the docket of the Federal Case attached as Exhibit “E”

       4.      On June 7, 2019, Debtor appealed a second state court order to the Fourth

District Court of Appeal of Florida styled Juanita Allen and Lorenzo Allen vs. BoNY, under

Case Number 4D19-1789 (the “Second Foreclosure Appeal”). The Second Foreclosure

Appeal was dismissed on July 16, 2019. A true and correct copy of the docket of the Second

Foreclosure Appeal attached as Exhibit “F.”

       5.      On April 7, 2021, Debtor appealed a third state court order to the Fourth

District Court of Appeal of Florida styled Juanita Allen and Lorenzo Allen vs. BoNY, under

Case Number 4D21-1270 (the “Third Foreclosure Appeal”). A true and correct copy of the

Third Foreclosure Appeal attached as Exhibit “G.”

       6.      The Foreclosure Action proceeded to non-jury trial on April 7, 2021. See

Ex. C. The state court found that BoNY was entitled to entry of Final Judgment of

Foreclosure in the amount of $802,415.00, plus interest, but abstained from entering Final

Judgment of Foreclosure until the Third Foreclosure Appeal was resolved (the “April 29,

2021 Order”). A true and correct copy of the April 29, 2021 Order attached as Exhibit “H.”

       7.      The appellate court per curiam affirmed the state court order in the Third

Foreclosure Appeal on December 2, 2021, and the Mandate issued on December 30, 2021.

See Ex. G.




                                                                          70275\315205143.v1
              Case 23-01179-SMG         Doc 11     Filed 11/03/23     Page 5 of 18




               8.     On April 12, 2021, Debtor appealed the federal district court’s remand order

       to the United States Court of Appeals for the Eleventh Circuit styled BoNY v. Lorenzo Allen

       and Juanita Allen, under Case Number 21-11192-CC (the “Federal Appeal”), which was

       ultimately dismissed on March 17, 2023 as moot due to dismissal of the underlying

       Foreclosure Action. A true and correct copy of the Federal Appeal attached as Exhibit “I.”

       Not only has the litigation been with the Debtor in a pro se manner, the claims asserted

against Defendants in this adversary proceeding appear to stem from one or more communications

directly with Debtor as to the Foreclosure Action or BoNY’s filing and actions which pre-date the

filing of the Main Case. [ECF 1 at ¶¶36-43]. Significantly, Debtor fails to allege, whether through

inadvertence or purposefully, that Debtor initiated the alleged communications with Attorney

Hernandez. Id. After the Mandate issued as to the Third Foreclosure Appeal, on December 30,

2021, BoNY filed its Exparte Motion for Entry of Final Judgment of Foreclosure Pursuant to the

Court’s April 9, 2021, Order Following April 7, 2021 Non-Jury Trial (the “Exparte Motion for

Judgment”). See Ex. “C.” On January 3, 2022, one day prior to the trial court signing the Final

Judgment of Foreclosure (the “Final Judgment”), Debtor filed a voluntary Chapter 13 bankruptcy

pro se and filed a Suggestion of Bankruptcy in the Foreclosure Action pro se. See id.

       On January 31, 2022, four days after the Debtor’s Main Case was dismissed on January

27, 2022, the Debtor sent an email to Attorney Hernandez notifying him of the Final Judgment

that had been entered on January 4, 2022 (the “Initial Email from Debtor”). See Composite Ex.

“B.” The certificate of service on the Final Judgment confirms that Attorney Hernandez was not

served with a copy of the Final Judgment. A true and correct copy of the Final Judgment is attached

as Exhibit “J.” It was not until Debtor’s direct email to Attorney Hernandez on January 31, 2022,

when conformed copies of the Final Judgment were received by the parties, or their counsel as




                                                                                  70275\315205143.v1
             Case 23-01179-SMG          Doc 11     Filed 11/03/23    Page 6 of 18




listed in the Final Judgment’s certificate of service, in the Foreclosure Action, that Attorney

Hernandez or any of the Defendants learned that the state court judge had entered the Final

Judgment despite Debtor’s filing of a Suggestion of Bankruptcy. See Composite Ex. “B.”

       The Initial Email from Debtor requested that action be taken to vacate the Final Judgment,

since it was entered after commencement of the automatic stay. See id. At the Debtor’s request, on

February 9, 2022, BoNY filed a Motion to Vacate Final Judgment of Foreclosure due to

Bankruptcy Stay and for Entry of Amended Final Judgment of Foreclosure Pursuant to the Court’s

April 9, 2021, Order Following April 7, 2021 Non-Jury Trial (the “Motion to Vacate”). A true and

correct copy of the Motion to Vacate is attached as Exhibit “K.” [ECF 1 at ¶38].

       On that same date, Attorney Hernandez emailed the Debtor a copy of the Motion to Vacate,

along with a proposed Agreed Order granting the Motion to Vacate, including the request for entry

of an Amended Final Judgment of Foreclosure due to dismissal of the Main Case (the “First

Proposed Agreed Order”), for Debtor’s consideration, but no response was received. See

Composite Ex. “B.” [ECF 1 at ¶38]. On February 15, 2022, Attorney Hernandez sent a follow up

email to Debtor seeking approval of the First Proposed Agreed Order, but again no response was

received. See id. [ECF 1 at ¶39].

       Finally, on February 18, 2022, Debtor sent an email directly to Attorney Hernandez

notifying him that his Chapter 13 case had been reinstated, objecting to the First Proposed Agreed

Order and requesting that the Motion to Vacate be withdrawn (the “Second Email from Debtor”).

Correspondence commencing on February 18, 2022 with the Debtor along with Attorney

Hernandez’s response are attached hereto as Composite Exhibit “L.” [ECF 1 at ¶40]. Significantly,

although Debtor’s Motion to Reinstate Case had been filed on February 7, 2022, by newly retained

bankruptcy counsel, Robert J. Bigge, Jr., Esq., Debtor sent the direct communication to Attorney




                                                                                   70275\315205143.v1
              Case 23-01179-SMG         Doc 11     Filed 11/03/23     Page 7 of 18




Hernandez concerning the pending Motion to Vacate in the Foreclosure Action without copying

his counsel on the email. See Composite Exhibit “L.” Additionally, that same day, the Debtor,

again while acting pro se, filed an Amended Suggestion of Bankruptcy in the Foreclosure Action.

See Ex. “C.” [ECF 1 at ¶40].

       In response to the Second Email from Debtor, on February 18, 2022, Attorney Hernandez

acknowledged receipt of the Amended Suggestion of Bankruptcy due to the reinstated bankruptcy

automatic stay and offered a revised proposed Agreed Order granting the Motion to Vacate in part

and eliminating the language concerning entry of an Amended Final Judgment of Foreclosure in

light of the Order Reinstating (the “Second Proposed Agreed Order”), but no response was

received. Attorney Hernandez sent a follow up email to Debtor on February 21, 2022, February

22, 2022 and February 27, 2022, but no responses were received. See Composite Exhibit “L.”

       Due to the lack of response by Debtor, on March 15, 2022, a hearing was scheduled by

BoNY for March 28, 2022, on the Motion to Vacate in the Foreclosure Action. See Ex. “C.” An

Amended Notice of Hearing filed on March 25, 2022, in the Foreclosure Action clarified that “the

motion being scheduled for hearing is limited to the Motion to Vacate Final Judgment of

Foreclosure Due to Bankruptcy Stay.” A true and correct copy of the Amended Notice of Hearing

is attached as Exhibit “M.” Further, the Amended Notice of Hearing specified that the

“undersigned has provided a proposed Agreed Order to non-movants for approval, but the

undersigned has not received a response approving the content of the Agreed Order granting in

part [BoNY]’s Motion and taking no further action as to the remainder of [BoNY]’s Motion due

to the bankruptcy stay that was reinstated after the filing of [BoNY]’s Motion.” See id.

       On March 25, 2022, Debtor again emailed Attorney Hernandez directly requesting that the

hearing scheduled for March 28, 2022, be cancelled and Motion to Vacate withdrawn and




                                                                                  70275\315205143.v1
               Case 23-01179-SMG        Doc 11     Filed 11/03/23     Page 8 of 18




threatening penalties if BoNY’s Proof of Claim filed on March 14, 2022 was not withdrawn (the

“Third Email from Debtor”). True and correct copies of correspondence from the Debtor

commencing on March 25, 2022, from Debtor to Attorney Hernandez, along with Attorney

Hernandez’s responses attached hereto as Composite Exhibit “N.” Attorney Hernandez forwarded

the Third Email from Debtor to Debtor’s bankruptcy counsel on March 25, 2022, to (1) seek

confirmation from Mr. Bigge as to the scope of his representation, (2) notify Mr. Bigge of direct

emails received by Attorney Hernandez from Debtor after his appearance in the bankruptcy

proceeding and (3) notify Mr. Bigge of the hearing on the Motion to Vacate in the Foreclosure

Action and seeking Mr. Bigge’s approval of the Second Proposed Agreed Order if he intended on

making an appearance in the Foreclosure Action, but no response was received. See Composite

Exhibit “N.”

       Consequently, the hearing was held on March 28, 2022, on the Motion to Vacate, where

Attorney Hernandez appeared on behalf of BoNY and Debtor appeared pro se. The state court

entered an Order to Vacate Final Judgment of Foreclosure Due to Bankruptcy Stay and Directions

to Clerk to Place Case on Inactive Due to Bankruptcy (the “Order Vacating Foreclosure

Judgment”). A copy of the Order Vacating Foreclosure Judgment is attached as Exhibit “O.” To

date, no attorney has made an appearance on behalf of the Debtor in the Foreclosure Action. See

Ex. “C.”

                 MEMORANDUM OF LAW IN SUPPORT OF DISMISSAL

        A.      Standards for a Motion to Dismiss

        Courts must have personal jurisdiction over the party and subject matter jurisdiction over

 the matter in order to consider an action. See Pardazi v. Cullman Medical Ctr., 896 F.2d 1313,

 1317 (11th Cir. 1990) (internal citations omitted). “Service of process is a jurisdictional



                                                                                  70275\315205143.v1
             Case 23-01179-SMG           Doc 11     Filed 11/03/23     Page 9 of 18




requirement: a court lacks jurisdiction over the person of a defendant when that defendant has

not been served.” Id. When a court lacks personal jurisdiction over the defendant, dismissal of

the action is proper. See Snow v. DirecTV, Inc., 450 F.3d 1314, 1322 (11th Cir. 2006) (affirming

the dismissal of a case when the defendant showed the court lacked personal jurisdiction over

the defendant).

       To survive a motion to dismiss for failure to state a claim, a complaint must contain well-

pleaded facts. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955, 1964–65 (U.S. 2007).

As stated by the Supreme Court “while a complaint attacked by a Rule 12(b)(6) motion to

dismiss does not need detailed factual allegations, a plaintiff’s obligation to provide the

‘grounds’ of his ‘entitlement to relief’ requires more than labels or conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Id. The factual allegations must be

sufficient to “raise a right to relief above the speculative level.” Id. at 1964; see also Fin. Sec.

Assurance, Inc. v. Stephens, Inc., 500 F.3d 1276, 1282 (11th Cir. 2007) (specifying that “the

factual allegations in a complaint must ‘possess enough heft’ to set forth ‘a plausible entitlement

to relief’”) (quoting Twombly, 127 S. Ct. at 1966–67). “[W]hen the allegations in a complaint,

however true, could not raise a claim of entitlement to relief, ‘this basic deficiency should be

exposed at the point of minimum expenditure of time and money by the parties and the court.’”

Twombly, 127 S. Ct. at 1966 (citation omitted). The plaintiff has the “obligation to provide

grounds of his entitlement to [the] relief [sought] which, labels and conclusions and a formulaic

recitation of the elements of a cause of action will not be.” Twonbly at 1964.

      “To avoid dismissal for failure to state claim upon which relief may be granted, plaintiff

cannot merely plead labels and conclusions and provide a formulaic recitation of a cause of

action's elements; rather, plaintiff must amplify a claim with some factual allegations in those




                                                                                    70275\315205143.v1
               Case 23-01179-SMG        Doc 11    Filed 11/03/23     Page 10 of 18




 contexts where such amplification is needed to render the claim plausible.” Securities Investor

 Protection Corporation v. Bernard L. Madoff Investment Securities, LLC, 401 B.R. 629 (Bankr.

 S.D.NY. 2009)(citations omitted).

           Pro se litigants are not held to the same stringent pleading standards as attorneys;

 however, they “may not rely on conclusory allegations or legal conclusions in the place of

 factual allegations to overcome a motion to dismiss.” Mbano v. Kriseman, 2014 U.S. Dist.

 LEXIS 157453 at *6 (M.D. Fla. 2014) (citing Taylor v. Books A Million, Inc., 296 F.3d 376, 378

 (5th Cir. 2002)). “Conclusory allegations” raised by pro se litigants “will not survive a motion

 to dismiss if not supporting by facts constituting a legitimate claim for relief.” Id (citing

 Municipal Utilities Bd. of Albertville v. Alabama Power Co., 934 F.2d 1493, 1501 (11th Cir.

 1991)).

 B.        The Debtor did not properly serve the Adversary Complaint

       A review of the Certificate of Service indicates that the Debtor attempted to serve Attorney

Hernandez and Hinshaw at Hinshaw & Culbertson LLP, 201 E. Las Olas Blvd, Suite 1450, Ft.

Lauderdale, FL 33301 (the “Broward Hinshaw Office”) via certified mail [ECF 6]. The Certificates

of Service are not clear as to whom the certified mail was directed [ECF 6]. The Debtor alleges he

served BoNY via certified mail at CT Corporation System, 1210 S. Pine Island Road, Plantation,

FL 33324. None of the methods of service are correct.

       Pursuant to Rule 7004(b)(1), service of process on an individual may be made “by mailing

a copy of the summons and complaint to the individual’s dwelling house or usual place of abode

or to the place where the individual regularly conducts business or profession.” Fed.R.Bankr.P.

7004(b)(1). Attorney Hernandez’ practices law from Hinshaw’s Coral Gables office located at

2525 Ponce de Leon Blvd, 4th Floor, Coral Gables, FL 33134. See Declaration of Attorney




                                                                                  70275\315205143.v1
              Case 23-01179-SMG          Doc 11     Filed 11/03/23      Page 11 of 18




Hernandez at ¶3 which is attached hereto as Exhibit “P.” Thus, service of process at the Broward

Hinshaw Office was insufficient. See e.g. In re Ultrasonics, Inc., 269 B.R. 856 (Bankr. D. Idaho

2001) (finding service ineffective when not served at a defendant’s usual place of business even if

defendant occasionally conducted business at that location).

        Hinshaw is a limited liability partnership and therefore, service of process upon it must be

made pursuant to Rule 7004(b)(3) which provides for the following:

                “Upon a domestic or foreign corporation or upon a partnership or
                other unincorporated association, by mailing a copy of the
                summons and complaint to the attention of an officer, a managing
                or general agent, or other agent authorized by appointment or by
                law to receive service of process and, if the agent is one authorized
                by statute to receive service and the statute so requires, by also
                mailing a copy to the defendant.”

Fed.R.Bankr.P. 7004. According to the Certificate of Service, the Debtor attempted to serve

Hinshaw by delivering a copy of the summons and complaint to the Broward Hinshaw Office, but

failed to address the documents to a particular individual. See e.g. In re Ochoa, 399 B.R. 563, 567

(Bankr. S.D. Fla. 2009) (discussing proper service on an agent pursuant to Rule 7004 and finding

it lacking when service was not effectuated on the designated agent).

        Service of process on federally-insured depository institutions, such as BoNY, 3 is

specifically proscribed in the Bankruptcy Rules of Procedure. Rule 7004(h) provides, in pertinent

part, as follows:


                “Service on an insured depository institution (as defined
                in section 3 of the Federal Deposit Insurance Act) in a
                contested matter or adversary proceeding shall be made by
                certified mail addressed to an officer of the institution
                unless--
                1. the institution has appeared by its attorney, in which

3
   According to FDIC look up tools, BoNY is FDIC insured. See https://banks.data.fdic.gov/bankfind-
suite/bankfind?activeStatus=0%20OR%201&branchOffices=true&name=Bank%20of%20New%20York%20Mellon
&pageNumber=1&resultLimit=25


                                                                                    70275\315205143.v1
            Case 23-01179-SMG          Doc 11      Filed 11/03/23       Page 12 of 18




               case the attorney shall be served by first class mail;
               2. the court orders otherwise after service upon the
               institution by certified mail of notice of an application to
               permit service on the institution by first class mail sent to
               an officer of the institution designated by the institution;
               or the institution has waived in writing its entitlement to
               service by certified mail by designating an officer to
               receive service”

See Fed.R.Bankr.P. 7004 (emphasis added).

       Courts have distinguished between providing ‘notice,’ a matter generally directed to all

creditors, and providing a particular creditor with notice for due process as directed by more

specific provisions of the Federal Rules of Bankruptcy Procedure. In re Sawyer, 373 B.R. 454,

at 458 (D. S.C. 2007) (citing In re Banks, 299 F.3d 296, 301 (4th Cir. 2002) (holding that while

“mailing the proposed plans, the hearing notice, and confirmation order satisfied that ‘notice’

requirement under [Bankruptcy] Rule 2002, it does not meet the service requirements of

[Bankruptcy] Rule 7004). Proper “notice is required in order to satisfy the due process clause

of the Fifth Amendment and must be reasonably calculated, under all the circumstances, to

apprise interested parties of the pendency of the action and to afford them an opportunity to

present their objections.” In re Loloee, 241 B.R. 655, 661 (9th Cir. BAP, 1999) (citing Mullane

v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)).

       Unless one of the three (3) exceptions provided by Bankruptcy Rule 7004(h) is met, the

party serving the complaint must clearly comply with the Rule. See Bankr. R. Pro. 7004(h)(1)-

(3). Deviations from the strict requirements of Bankruptcy Rule 7004(h) are permitted when:

(1) counsel has appeared in the case; (2) the court orders service be completed by another method

or; (3) the defendant waives the requirement. See id. A comparison of Bankruptcy Rule

7004(h)'s language with that of other federal rules governing service of process on non-

governmental entities and corporations clearly evidences a Congressional intent to fashion more


                                                                                  70275\315205143.v1
            Case 23-01179-SMG           Doc 11     Filed 11/03/23      Page 13 of 18




rigorous service of process requirements for proceedings initiated against insured depository

institutions. See In re Hamlett, 322 F.3d 342 (4th Cir. 2003) (holding that service by regular

mail to a registered agent does not satisfy the due process requirements of Bankruptcy Rule

7004(h)). Looking to the legislative history of Rule 7004(h), the Hamlett court determined that

Congress added Bankruptcy Rule 7004(h) largely in response to the perceived need to grant

additional safeguards to depository institutions involved in proceedings governed by

Bankruptcy Rule 7004. Id.

      None of the exceptions listed in Bankruptcy Rule 7004(h) apply to the instant matter and

proper service has not been effectuated. In particular, no attorney or firm had filed a notice of

appearance on behalf of BoNY in the Adversary Proceeding. Additionally, the Court has not

ordered that BoNY should be served in any other matter than as specified by the Rules. Finally,

BoNY has not waived in writing its entitlement to service by certified mail by designated an

officer to receive service. Therefore, service was insufficient and this Court does not have

personal jurisdiction over BoNY and the Complaint should be dismissed. See Rodriquez v.

Comm’r, 2005 U.S. Dist. LEXIS 24927 at *9 (S.D. Fla. 2005) (dismissing a complaint for

insufficiency of process that resulted in a lack of personal jurisdiction).

C.     The Complaint Fails to State a Cause of Action

       The Plaintiff seeks to recover damages for purported violations of the FCCPA involving :

(1) alleged frequent contact with the Plaintiff; (2) attempting to collect a debt that was not owed;

and (3) communicating with the Plaintiff while he was represented by counsel. [ECF 1 at ¶¶44-83].

Specifically, the Plaintiff alleges that, even though the Main Case was dismissed, contact with him

after dismissal violated the automatic stay. [ECF 1 at ¶¶40, 43]. Additionally, the Plaintiff

mistakenly claims that a handful of emails meet the threshold for frequency so as to cause a




                                                                                   70275\315205143.v1
             Case 23-01179-SMG           Doc 11     Filed 11/03/23      Page 14 of 18




 violation of the FCCPA while ignoring that he contacted the Defendants himself in an apparent, ill-

 fated effort to manufacture a claim for improperly contacting him while represented by counsel in

 a separate legal proceeding (i.e., the bankruptcy). See Exs. B & L. Each of the Plaintiff’s claims

 fails as we will be described below.

            1. The Automatic Stay was not in place after the dismissal of the Main Case

       Upon dismissal of the Main Case and prior to it being reinstated, the automatic stay was

not in effect, contrary to the Plaintiff’s allegations. See Ex. A. The Order Reinstating the Case

states, in pertinent part, “[p]ursuant to 11 U.S.C. §362(c)(2)(B), the automatic stay terminated on

the date this case was dismissed and was not in effect from that date until the entry of this order.”

Id. The Main Case was dismissed on January 28, 2022 and reinstated on February 18, 2022. See

Ex A. Accordingly, claim for an alleged violation of the automatic stay can lie for any action

from January 28, 2022, through and February 18, 2022.

       Counts I and II of the Complaint rely solely on the correspondence sent on February 9,

2022, and February 15, 2022, respectively. [ECF 1 at ¶¶44-51, 53-59]. In each Count, the Plaintiff

alleges that the email correspondence was sent “while Plaintiff/Debtor Lorenzo Allen was

protected by the bankruptcy automatic stay;” however, as clearly stated in the Order Reinstating

the Case, that assertion is patently false. See Ex. A. As both of these emails were sent after the

Main Case was dismissed, the automatic stay did not apply and therefore, to the extent Counts I

and II rely upon a violation of the automatic stay to state a cause of action, the Complaint fails to

state a claim upon which relief may be granted. .

            2. The Email Correspondence did not meet the level of harassment required for a
               violation

       When reviewing similar claims, the Eleventh Circuit notes that claims “should be viewed

from the perspective of a consumer whose circumstances makes [her] relatively more susceptible



                                                                                     70275\315205143.v1
             Case 23-01179-SMG           Doc 11      Filed 11/03/23     Page 15 of 18




to harassment, oppression, or abuse.” Leahy-Fernandez v. Bayview Loan Servicing, LLC, 159 F.

Supp. 3d 1294, 1304 (Bankr. M.D. Fla. 2016) (internal citations omitted). When reviewing the

correspondence sent in Leahy-Fernandez, the court found that as a matter of law, one to two pieces

of correspondence per month did not rise to the level of harassment. See id at 1305. Further, the

court found that when the correspondence did not use abusive language, the correspondence also

could not form the basis of a violation of the FCCPA. See id. Finally, the correspondence did not

threaten to contact the plaintiff’s family, friends or co-workers. See id. For these reasons, the court

granted a motion to dismiss.

       In the instant matter, the Plaintiff seeks to recover for five emails. [ECF 1 at ¶¶38-43]. As

a threshold matter, although Plaintiff claims in each count that he seeks relief pursuant to

§559.72(7), the complained of activity in each count only refers to one email which allegedly was

sent while the Plaintiff “was protected by the bankruptcy automatic stay and represented by

counsel.” Id at ¶¶44-83. Accordingly, since section 7 of the FCCPA refers to the frequency of

communication with the consumer, each count fails to state a claim for violation of the FCCPA to

the extent the Plaintiff seeks relief under this section. Moreover, even were the Plaintiff seeking

relief due to the volume of communications, each Count only includes one communication. See

id. If one communication per month over a period of several months does not constitute a violation,

then one singular communication certainly cannot. See Leahy-Fernandez, 159 F. Supp. 3d. at 1304

(dismissing a complaint where the creditor sent a nominal amount of correspondence).

       A review of the email correspondence between the Plaintiff and the Defendants also

indicates that the correspondence was neutral and did not harass the Plaintiff in any manner.

Notably, the Plaintiff neglected to attach the initial correspondence from the Plaintiff to the

Complaint wherein the Plaintiff requested that a final judgment that was erroneously entered be




                                                                                      70275\315205143.v1
             Case 23-01179-SMG          Doc 11      Filed 11/03/23     Page 16 of 18




vacated. However, a review of that correspondence clearly demonstrates that it was conciliatory

and only sent in response to statements from the Debtor in an effort to provide the relief the Debtor

requested. See Exs. B and L.

            3. The Debtor initiated the communication and therefore, Fla. Stat. §559.72(18) is
               inapplicable

       The correspondence in this matter can be organized into two distinct groups – one for

correspondence initiated by the Debtor beginning on January 31, 2022 and the second in February.

See Comp. Exs. B and L. Notably, each group of documents plainly demonstrates that it was the

Debtor who made a demand of the Defendants, not the other way around. See id. While Florida

Statute §559.72(18) does prohibit contact with a party when they are represented by counsel, the

statute includes one very important exception that rule. See Fla. Stat. §559.72(18). Specifically,

communication is not prohibited when “the debtor initiates the communication.” Here, the Debtor

clearly made a demand of the Defendants to which the Defendants attempted to respond. Thus, the

exception applies and no cause of action can lie. Moreover, the Defendant was proceeding pro se

with respect to the Foreclosure Action and therefore, the Defendants did not have counsel they could

contact. For both reasons, the Debtor cannot state a claim for a violation of Florida Statute

§559.72(18).

            4. The Litigation Privilege Provides Immunity for the Complained of Activity

       The Florida Supreme Court recognizes the principle of the litigation privilege, which

affords absolute immunity to acts occurring during the course of a judicial proceeding as long as

the act has some relation to the proceeding. Echevarria, McCalla, Raymer, Barrett & Frappier v.

Cole, 950 So. 2d 380, 384 (Fla. 2007) (citing Levin, Middlebrooks, Mabie, Thomas, Mayes

Mitchell, P.A. v. United States Fire Ins. Co., 639 So.2d 606 (Fla. 1994)).




                                                                                    70275\315205143.v1
             Case 23-01179-SMG           Doc 11     Filed 11/03/23    Page 17 of 18




       Florida’s litigation privilege applies to violations of Florida state statutes, including the

FCCPA. Meyer v. Fay Servicing, LLC, 385 F. Supp. 3d 1235, 1241-42 (M.D. Fla. 2019); see also

Trent v. Mortgage Elec. Registration Sys., Inc., 618 F. Supp. 2d 1356, 2007 WL 2120262, at *3

(M.D. Fla. 2007) ("The Echevarria holding precludes communications attached to or made part of

a foreclosure complaint from forming the basis of a FCCPA … claim."); Pack v. Unifund CCR

Partners, G.P., No. 8:07-cv-1562-T-27EAJ, 2008 U.S. Dist. LEXIS 21182 (M.D. Fla. Mar. 13,

2008) (on summary judgment, holding that claims under the FCCPA were barred by state court

lawsuit and litigation privilege).

       All of the complained of activity occurred during the course of litigation. See Ex. C. The

 correspondence from BoNY’s counsel to the Plaintiff solely concerned the Foreclosure Action

 and was sent in response to correspondence received from the Plaintiff. See id. The substance

 of the correspondence also discussed relief in the Foreclosure Action and was limited to

 litigation matters. See id. For this reason, none of the correspondence between the Debtor and

 the Defendants can form the basis for a claim for relief as it is barred by Florida’s litigation

 privilege. See Pack, 2008 U.S. Dist. LEXIS 21182 (holding that claims under the FCCPA were

 barred by state court lawsuit and litigation privilege).

                                            Conclusion

       The Complaint in this matter fails to state a cause of action under any theory of relief as

the Defendants merely responded to correspondence received by the Plaintiff in an effort to

address concerns raised by the Plaintiff. Moreover, any correspondence between the parties was

barred by Florida’s litigation privilege. For these reasons, the Complaint should be dismissed.

       WHEREFORE, Defendants THE BANK OF NEW YORK F/K/A THE BANK OF NEW

YORK AS SUCCESSOR TO JP MORGAN CHASE BANK, N.A., AS TRUSTEE FOR ASSET


                                                                                   70275\315205143.v1
             Case 23-01179-SMG           Doc 11    Filed 11/03/23    Page 18 of 18




BACKED FUNDING CORPORATION ASSET BACKED CERTIFICATES, SERIES 2003-

AHL1, PETER HERNANDEZ and HINSHAW & CULBERTSON LLP respectfully request the

Court dismiss this action and grant such other relief as the Court deems just and proper.

                                                     Respectfully Submitted,

                                                     /s/ Siobhan E. P. Grant
                                                     Siobhan E. P. Grant
                                                     Florida Bar No.: 68892
                                                     sgrant@hinshawlaw.com
                                                     HINSHAW & CULBERTSON LLP
                                                     2525 Ponce de Leon, 4th Floor
                                                     Coral Gables, FL 33134
                                                     Tel: (305) 428-5118
                                                     Attorneys for Bank of New York Mellon f/k/a
                                                     the Bank of New York as Successor to JP
                                                     Morgan Chase Bank, N.A., as Trustee for
                                                     Asset Backed Funding Corporation Asset-
                                                     Backed Certificates, Series 2003-AHL1


                                       Certificate of Service

       I HEREBY certify that on November 3, 2023, I served the foregoing Motion in the manner

specified below to the particular parties:

  Via CM/ECF                                    Via CM/ECF
  Robin R. Weiner,                              51 S.W. 1st Ave.
  Post Office Box 559007                        Suite 1204
  Fort Lauderdale, FL 33355                     Miami, FL 33130
  Chapter 13 Trustee                            U.S. Trustee




  Via US Mail & Email
  Lorenzo Andrew Allen
  6207 NW 66th Way
  Parkland, FL 33067
  Poboy62@aol.com

                                                   By: /s/ Siobhan E. P. Grant
                                                      Siobhan E. P. Grant



                                                                                  70275\315205143.v1
